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                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                                VOICE (314) 244-2400
Michael E. Gans
                                                                                  FAX (314) 244-2780
Clerk of Court
                                                                                www.ca8.uscourts.gov

                                                            August 25, 2022

                                                             4:21-cv-00450-JM
Mr. Dylan L. Jacobs
ATTORNEY GENERAL'S OFFICE
200 Catlett-Prien Building
323 Center Street
Little Rock, AR 72201-0000

         RE: 21-2875 Dylan Brandt, et al v. Leslie Rutledge, et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en bane must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en bane which is not received within the 14 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                            Michael E. Gans
                                                            Clerk of Court

CRJ

Enclosure( s)

cc:      Ms. Lauren R. Adams
         Mr. Barrett James Anderson
         Mr. Gabriel Arkles
         Mr. Jess Askew III
         Mr. Paul V. Avelar
         Ms. Elizabeth Baia
         Ms. Shireen A. Barday
         Mr. Garrard R. Beeney
         Mr. Boris Bershteyn
         Ms. Carmine D Boccuzzi Jr.
         Ms. Kathleen Boergers


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   Mr. Andrew Bonzani
   Ms. Gretchen Borchelt
   Mr. Alexander Barrett Bowdre
   Mr. Nicholas J. Bronni
   Ms. Vernadette R. Broyles
   Mr. John J. Bursch
   Mr. Michael A. Cantrell
   Ms. Su.nu Chandy
   Ms. Jennifer C. Chavez
   Mr. JD Colavecchio
   Ms. Leslie Cooper
   Mr. Ezra Cukor
   Mr. Andrew Rhys Davies
   Ms. Tammy H. Downs
   Ms. Sharon Elizabeth Echols
   Mr. James D. Esseks
   Ms. Sarah C. Everett
   Mr. Omar Gonzalez-Pagan
   Mr. Nicholas Guillory
   Ms. Lindsay Harris
   Ms. Kathleen R. Hartnett
   Mr. Alexander S. Holland
   Mr. William Racilla Isasi
   Ms. Katelyn Kang
   Mr. Andrew King
   Mr. Caleb B. King
   Mr. Edmund G. LaCour Jr.
   Mr. Cortlin Hall Lannin
   Mr. Michael J. Lanosa
   Ms. Karen Loewy
   Mr. Jesse Ryan Loffler
   Mr. Peter Drake Mann
   Mr. Thomas A. Mars
   Ms. Dorianne Mason
   Ms. Mary Elizabeth McAlister
   Mr. Gary McCaleb
   Mr. Christopher Ernest Mills
   Mr. William J. O'Brien
   Mr. Justin L. Ormand
   Ms. Laura Kabler Oswell
   Ms. Elizabeth F. Reinhardt
   Ms. Bonnie I. Robin-Vergeer
   Ms. Mary C. Ross
   Mr. Andrew J. Schrag
   Ms. Barbara Schwabauer
   Ms. J. G. Piper Sheren
   Mr.PaulM. Sherman
   Mr. Steven W. Shuldman
   Mr. Chase B. Strangio
   Mr. Gary L. Sullivan
   Ms. Alison Ann Tanner
   Mr. Joel H. Thornton

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   Mr. Ernest G. Trakas
   Mr. Christopher L. Travis
   Ms. Julie Veroff
   Ms. D. Jean Veta
   Ms. Breean Walas
   Ms. Lily Grace Weaver
   Ms. Stephanie Yu
   Mr. Howard S. Zelbo

      District Court/Agency Case Number(s): 4:21-cv-00450-JM




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                                                           August 25, 2022


West Publishing
Opinions Clerk
610 Opperman Drive
Building D D4-40
Eagan, MN 55123-0000

       RE: 21-2875 Dylan Brandt, et al v. Leslie Rutledge, et al

Dear Sir or Madam:

       A published opinion was filed today in the above case.

       Counsel who presented argument on behalf of the appellants was Dylan L. Jacobs,
Assistant Solicitor General, of Little Rock, AR. The following attorney(s) appeared on the
appellants' brief; Vincent M. Wagner, Deputy Solicitor General, of Little Rock, AR., Ka Tina
R. Guest, AAG, of Little Rock, AR., Nicholas J. Bronni, Solicitor General, of Little Rock, AR.,
Michael A. Cantrell, Assistant Solicitor General, of Little Rock, AR.

        Counsel who presented argument on behalf of the appellees and appeared on the
appellees' brief, was Chase B. Strangio, of New York, NY. The following attorney(s) also
appeared on the appellees' brief; Leslie Cooper, ofNew York, NY., James Esseks, of New
York, NY., Breean Walas, of Bozeman, MT., Garrard R. Beeney, ofNew York, NY., Jonathan
J. Ossip, of New York, NY., Brandyn J. Rodgerson, of New York, NY., Alexander S. Holland,
of New York, NY., Beth Echols, of Little Rock, AR., Christopher Travis, of Little Rock, AR.,
Drake Mann, of Little Rock, AR., Gill Ragon Owen, of Little Rock, AR., Gary L. Sullivan, of
Little Rock, AR., Sarah Everett, of Little Rock, AR., Laura Kabler Oswell, of Palo Alto, CA.,
Duncan C. Simpson LaGoy, of Palo Alto, CA.

       Counsel who represented amicus group of the State of Alabama, State of Alaska, State of
Arizona, State of Georgia, State ofldaho, State of Indiana, State of Kansas, State of Kentucky,
State of Louisiana, State of Mississippi, State of Missouri, State of Montana, State of Nebraska,
State of South Carolina, State of South Dakota, State of Tennessee, State of Texas, State of Utah
and State of West Virginia, was Edmund G. LaCour Jr., Solicitor General, of Montgomery, AL.,
Steve Marshall, Attorney General, of Montgomery, AL., A. Barrett Bowdre, Deputy Solicitor
General, of Montgomery, AL., Treg R. Taylor, Attorney General of Alaska, Mark Brnovich,
Attorney General of Arizona, Christopher M. Carr, Attorney General of Georgia, Lawrence G.
Wasden, Attorney General ofldaho, Theodore E. Rokita, Attorney General of Indiana, Derek
Schmidt, Attorney General of Kansas, Daniel Cameron, Attorney General of Kentucky, Jeff
Landry, Attorney General of Louisiana, Lynn Fitch, Attorney General of Mississippi, Eric
Schmitt, Attorney General of Missouri, Austin Knudsen, Attorney General of Montana, Doug


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Peterson, Attorney General of Nebraska, Alan Wilson, Attorney General of South Carolina,
Jason R. Ravnsborg, Attorney General of South Dakota, Herbert Slatery III, Attorney General of
Tennesse, Ken Paxton, Attorney General of Texas, Sean D. Reyes, Attorney General of Utah,
Patrick Morrisey, Attorney General of West Virginia.

       Counsel who represented amicus group Family Research Council, was Christopher Mills,
of Charleston, SC.

      Counsel who represented amicus group Women's Liberation Front, was Jennifer C.
Chavez, of Washington, DC., Lauren R. Adams, of Washington, DC.

       Counsel who represented amicus group of Jeffrey E. Hansen, Ph.D., Michael K.
Laidlaw, MD, Quentin L. Van Meter, MD and Andre Van Mol, MD, was Gary S. McCaleb, of
Scottsdale, AZ., John J. Bursch, of Washington, DC.

       Counsel who represented amicus group of Kellie C., Jeanne Crowley, Barbara F., Ted
Hudacko, Bri Miller, Helen S., Martha S., Y aacov Sheinfeld, Kristine W. and Lauren W., was
Mary E. McAlister, of Johns Creek, GA., Vernadette R. Broyles, of Johns Creek, GA., Joel H.
Thornton, of Johns Creek, GA.

      Counsel who represented amicus group of Laura Becker, Keira Bell, Kathy Grace
Duncan, Carol Freitas, Laura Reynolds and Sinead Watson, was Ernest G. Trakas, of St. Louis,
MO.

        Counsel who represented amicus group of Equality South Dakota, Family Equality,
Freedom for All Americans, GLBTQ Legal Advocates & Defenders, Gender Justice, Human
Rights Campaign, Intransitive (Mabelvale, Arkansas), Lambda Legal Defense and Education
Fund, Legal Voice, Lucie's Place (Little Rock, Arkansas), National Center for Lesbian Rights,
National Center for Transgender Equality, National LGBTQ Task Force, National Women's Law
Center, One Iowa, OutNebraska, PFLAG, SisterReach, South Dakota Transformation Project,
Southwest Women's Law Center, Transformation Project Advocacy Network and Women's Law
Project, was Gretchen Borchelt, of Washington, DC., Sunu Chandy, of Washington, DC.,
Dorianne Mason, of Washington, DC., Alison Tanner, of Washington, DC., Nicholas Guillory,
of Dallas, TX., Omar Gonzalez-Pagan, of New York, NY., Karen Loewy, of Washington, DC.

       Counsel who represented amicus group Biomedical Ethics and Public Health Scholars,
was Katelyn Kang, of New York, NY., Elizabeth F. Reinhardt, of Boston, MA., Kathleen
Hartnett, of San Francisco, CA., Julie Veroff, of San Francisco, CA., Barrett Anderson, of San
Diego, CA.

        Counsel who represented amicus group of Acoustic, L.P ., Acxiom LLC, Arkansas State
Chamber of Commerce, Asana, Inc., CYCLQ LLC, IPG, Kinesso, LLC, LiveRamp Holdings,
Inc., Northwest Arkansas Council, The Walton Family Foundation, Inc., Winthrop Rockefeller
Foundation and Xperi Holding Corp., was Boris Bershteyn, of New York, NY., William J.
O'Brien, of New York, NY., Andrew J. Schrag, of New York, NY., J.G. Piper Sheren, of New
York, NY., Mary C. Ross, of New York, NY., Caleb B. King, of New York, NY., Thomas A.
Mars, of Rogers, AR., Andrew Bonzani, of New York, NY.

      Counsel who represented amicus United States, was Kristen Clarke, AAG, Washington,
DC., Bonnie I. Robin-Vergeer, USDOJ, of Washington, DC., Barbara Schwabauer, USDOJ, of
Washington, DC.


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       Counsel who represented amicus group of Academic Pediatric Association, American
Academy of Child and Adolescent Psychiatry, American Academy of Pediatrics, American
Association of Physicians for Human Rights, Inc., ACOP, AMA, APS, American Psychiatric
Association, ARAAP, ACCAP, Arkansas Medical Society, Arkansas Psychiatric Society,
AMSPDC, Endocrine Society, NAPNAP, PES, SPU, Society for Adolescent Health and
Medicine, SPR, SPN and World Professional Association for Transgender Health, was Jess
Askew, III, of Little Rock, AR., Andrew King, of Little Rock, AR., D. Jean Veta, of
Washington, DC., Cortlin Lannin, of Washington, DC., William Isasi, of Washington, DC.,
Michael Lanosa, of Washington, DC., Elizabeth Baia, of Washington, DC.

         Counsel who represented amicus group Institute for Justice, was Paul Avelar, of Tempe,
AZ,.,   Paul M. Sherman, of Arlington, VA.

     Counsel who represented amicus group of AusPATH, BVT*, FELGBTI+, Fundacion,
LGBT+ Denmark, FRI, PATHA NZ, Stonewall UK and RFSL, was Andrew Rhys Davies, of
New York, NY., Justin L. Ormand, of New York, NY., Steven W. Shuldman, of New York, NY.

      Counsel who represented amicus group Families with Transgender Children, was Jesse
Ryan Loffler, of Pittsburgh, PA.

       Counsel who represented amicus group of District of Columbia, State of California, State
of Colorado, State of Connecticut, State of Delaware, State of Hawaii, State of Illinois, State of
Maine, State of Maryland, State of Massachusetts, State of Michigan, State of Minnesota, State
of Nevada, State of New Jersey, State of New Mexico, State of New York, State of North
Carolina, State of Oregon, State of Rhode Island, State of Vermont and State of Washington, was
Rob Bonta, Attorney General of California., Kathleen Boergers, Supervising Deputy Attorney
General of California., Stephanie T. Yu, Deputy AAG, of Sacramento, CA., Lily G. Weaver,
Deputy AAG, of Sacramento, CA., Philip J. Weiser, Attorney General of Colorado, Kathleen
Jennings, Attorney General of Delaware, Holly T. Shikada, Attorney General of Hawaii, Aaron
M. Frey, Attorney General of Maine, William Tong, Attorney General of Connecticut, Karl A.
Racine, Attorney General of District of Columbia, Kwame Raoul, Attorney General of Illinois,
Brian E. Frosh, Attorney General of Maryland, Maura Healey, Attorney General of
Massachusetts, Keith Ellison, Attorney General of Minnesota, Andrew J. Bruck, Acting Attorney
General of New Jersey, Letitia James, Attorney General of New York, Ellen F Rosenblum,
Attorney General of Oregon, Thomas J. Donovan, Jr., Attorney General of Vermont, Dana
Nessel, Attorney General of Michigan, Aaorn D. Ford, Attorney General of Nevada, Hector
Baldera, Attorney General of New Mexico, Joshua H. Stein, Attorney General of North
Carolina, Peter F. Nerohna, Attorney General of Rhode Island, Robert W. Ferguson, Attorney
General of Washington.

       Counsel who represented amicus group Elliot Page and 57 Other Individuals, was
Carmine D. Boccuzzi, Jr. of New York, NY., Howard S. Zelbo, of New York, NY., JD
Colavecchio, of New York, NY., Lindsay Harris, of New York, NY., Gabriel Arkles, of New
York, NY., Ezra Cukor, of New York, NY.

      Counsel who represented amicus group The Trevor Project, Inc., was Shireen A. Barday,
of New York, NY.

       The judge who heard the case in the district court was Honorable James M. Moody, Jr..
The judgment of the district court was entered on July 21, 2021.

         If you have any questions concerning this case, please call this office.

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                                                Michael E. Gans
                                                Clerk of Court

CRJ

Enclosure( s)

cc: MO Lawyers Weekly


           District Court/Agency Case Number(s): 4:21-cv-00450-JM




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                             jfor tbe ~fgbtb <ltfrcuft
                        ___________________________

                                No. 21-2875
                        ___________________________

 Dylan Brandt, by and through his mother Joanna Brandt; Joanna Brandt; Sabrina
Jennen, by and through her parents Lacey and Aaron Jennen; Lacey Jennen; Aaron
 Jennen; Brooke Dennis, by and through her parents Amanda and Shayne Dennis;
Amanda Dennis; Shayne Dennis; Parker Saxton, by and through his father Donnie
   Saxton; Donnie Saxton; Michele Hutchison, on behalf of herself and parents;
            Kathryn Stambough, on behalf of herself and her parents

                                       Plaintiffs - Appellees

                                          v.

Leslie Rutledge, in her official capacity as the Arkansas Attorney General; Amy E.
  Embry, in her official capacity as the Executive Director of the Arkansas State
 Medical Board; Sylvia D. Simon, in official capacity as member of the Arkansas
  State Medical Board; Robert Breving, Jr., in official capacity as member of the
Arkansas State Medical Board; John H. Scribner, in official capacity as member of
   the Arkansas State Medical Board; Elizabeth Anderson, in official capacity as
    member of the Arkansas State Medical Board; Rhys L. Branman, in official
    capacity as member of the Arkansas State Medical Board; Edward Gardner,
   "Ward"; in official capacity as member of the Arkansas State Medical Board;
   Rodney Griffin, in official capacity as member of the Arkansas State Medical
    Board; Betty Guhman, in official capacity as member of the Arkansas State
  Medical Board; Brian T. Hyatt, in official capacity as member of the Arkansas
   State Medical Board; Timothy C. Paden, in official capacity as member of the
 Arkansas State Medical Board; Don R. Philips, in official capacity as member of
  the Arkansas State Medical Board; William L. Rutledge, in official capacity as
member of the Arkansas State Medical Board; David L. Staggs, in official capacity
   as member of the Arkansas State Medical Board; Veryl D. Hodges, in official
             capacity as member of the Arkansas State Medical Board

                                   Defendants - Appellants




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                             ------------------------------

Keira Bell; Laura Becker; Sinead Watson; Kathy Grace Duncan; Laura Reynolds;
  Carol Freitas; Yaacov Sheinfeld; Jeanne Crowley; Ted Hudacko; Lauren W.;
   Martha S.; Kellie C.; Kristine W.; Bri Miller; Helen S.; Barbara F.; State of
Alabama; State of Alaska; State of Arizona; State of Georgia; State of Idaho; State
   of Indiana; State of Kansas; State of Kentucky; State of Louisiana; State of
Mississippi; State of Missouri; State of Montana; State of Nebraska; State of South
Carolina; State of South Dakota; State of Tennessee; State of Texas; State of Utah;
  State of West Virginia; Family Research Council; Women's Liberation Front;
  Quentin L. Van Meter, MD; Michael K. Laidlaw, MD; Andre Van Mol, MD;
                            Jeffrey E. Hansen, Ph. D.

                                 Amici on Behalf of Appellant(s)

   Lambda Legal Defense and Education Fund; National Women's Law Center;
   Equality South Dakota; Family Equality; Freedom for All Americans; Gender
     Justice; GLBTQ Legal Advocates & Defenders; Human Rights Campaign;
    Intransitive (Mabelvale, Arkansas); Legal Voice; Lucie's Place (Little Rock,
 Arkansas); National Center for Lesbian Rights; National Center for Transgender
     Equality; National LGBTQ Task Force; One Iowa; OutNebraska; PFLAG;
   SisterReach; South Dakota Transformation Project; Southwest Women's Law
    Center; Transformation Project Advocacy Network; Women's Law Project;
   American Academy of Pediatrics; Academic Pediatric Association; American
Academy of Child and Adolescent Psychiatry; American Association of Physicians
for Human Rights, Inc.; American College of Osteopathic Pediatricians; American
       Medical Association; American Pediatric Society; American Psychiatric
Association; Arkansas Chapter of the American Academy of Pediatrics; Arkansas
Council on Child and Adolescent Psychiatry; Arkansas Medical Society; Arkansas
 Psychiatric Society; Association of Medical School Pediatric Department Chairs;
Endocrine Society; National Association of Pediatric Nurse Practitioners; Pediatric
   Endocrine Society; Society for Adolescent Health and Medicine; Society for
 Pediatric Research; Society of Pediatric Nurses; Societies for Pediatric Urology;
  World Professional Association for Transgender Health; Biomedical Ethics and
  Public Health Scholars; United States; LiveRamp Holdings, Inc.; Acxiom LLC;
 Kinesso, LLC; The Walton Family Foundation, Inc.; Arkansas State Chamber of
   Commerce; Northwest Arkansas Council; Asana, Inc.; Xperi Holding Corp.;
      Interpublic Group of Companies, Inc.; Winthrop Rockefeller Foundation;
   Acoustic, L.P.; CYCLQ LLC, doing business as Blue Star Business Services;
 Institute for Justice; State of California; State of Colorado; State of Connecticut;

                                          -2-
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  State of Delaware; State of Hawaii; State of Illinois; State of Maine; State of
Maryland; State of Massachusetts; State of Michigan; State of Minnesota; State of
 Nevada; State of New Jersey; State of New Mexico; State of New York; State of
North Carolina; State of Oregon; State of Rhode Island; State of Vermont; State of
Washington; District of Columbia; Stonewall UK; Swedish Federation for Lesbian,
 Gay, Bisexual, Transgender, Queer and Intersex Rights; Australian Professional
 Association for Trans Health; Professional Association for Transgender Health
Aotearoa New Zealand; LGBT+ Denmark; Bundesverband Trans e.V.; Federacion
  Estatal de Lesbianas, Gais, Trans, Bisexuales, Intersexuales y mas; Fundacion
  Colectivo Hombres XX, AC; Norwegian Organization for Sexual and Gender
Diversity; The Trevor Project, Inc.; Elliot Page and 57 Other Individuals; Families
                           with Transgender Children

                                   Amici on Behalf of Appellee(s)
                                    ____________

                       Appeal from United States District Court
                     for the Eastern District of Arkansas - Central
                                    ____________

                              Submitted: June 15, 2022
                               Filed: August 25, 2022
                                   ____________

Before LOKEN and KELLY, Circuit Judges, and MENENDEZ, District Judge.1
                            ____________

KELLY, Circuit Judge.

       Arkansas state officials (collectively, Arkansas or the State) appeal the order
of the district court2 preliminarily enjoining Act 626 of the 93rd General Assembly



      1
        The Honorable Katherine M. Menendez, United States District Judge for the
District of Minnesota, sitting by designation.
      2
       The Honorable James M. Moody, Jr., United States District Judge for the
Eastern District of Arkansas.

                                          -3-
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of Arkansas. This court has jurisdiction under 28 U.S.C. § 1292(a)(1) to review an
interlocutory order granting a preliminary injunction, and we affirm.

                                   I. Background

       On April 6, 2021, the Arkansas state legislature overrode the governor’s veto
and enacted Act 626. The Act prohibits a healthcare professional from “provid[ing]
gender transition procedures to any individual under eighteen (18) years of age” or
“refer[ring] any individual under eighteen (18) years of age to any healthcare
professional for gender transition procedures.” Ark. Code Ann. § 20-9-1502(a), (b).
“Gender transition procedures” is defined to include “any medical or surgical
service, including without limitation physician’s services, inpatient and outpatient
hospital services, or prescribed drugs” that are intended to “[a]lter or remove
physical or anatomical characteristics or features that are typical for the individual’s
biological sex” or “[i]nstill or create physiological or anatomical characteristics that
resemble a sex different from the individual’s biological sex.” Id. § 20-9-
1501(6)(A). Specifically identified services include “puberty-blocking drugs, cross-
sex hormones, or other mechanisms to promote the development of feminizing or
masculinizing features in the opposite biological sex, or genital or nongenital gender
reassignment surgery performed for the purpose of assisting an individual with a
gender transition.” Id. “Gender transition procedures” specifically does not include
“[s]ervices to persons born with a medically verifiable disorder of sex development.”
Id. § 20-9-1501(6)(B).

      Act 626 was set to take effect on July 28, 2021. In May, Plaintiffs in this
matter—transgender youth (Minor Plaintiffs), their parents (Parent Plaintiffs), and
two healthcare professionals (Physician Plaintiffs)—filed a complaint seeking
declaratory and injunctive relief. Plaintiffs allege that Act 626 violates the Equal
Protection Clause of the Fourteenth Amendment because it discriminates against
Minor Plaintiffs and Physician Plaintiffs’ minor patients on the basis of sex and
transgender status. Parent Plaintiffs further allege the Act violates the Due Process
Clause of the Fourteenth Amendment by limiting their fundamental right to seek and


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follow medical advice for their children. Finally, Plaintiffs allege that, by banning
referrals, Act 626 violates their First Amendment rights by limiting what Physician
Plaintiffs can say and what Minor and Parent Plaintiffs can hear.

       In June, Plaintiffs moved for a preliminary injunction to stop Act 626 from
going into effect. Arkansas moved to dismiss the complaint pursuant to Federal
Rules of Civil Procedure 12(b)(1) and 12(b)(6). After a hearing on the motions, the
district court denied the motion to dismiss and granted the motion for preliminary
injunction, concluding that Plaintiffs had standing and showed a likelihood of
success on the merits of each of their claims and a likelihood of irreparable harm.
Arkansas appeals.

                                     II. Standing

       As an initial matter, the State challenges Plaintiffs’ standing to seek an
injunction of specific aspects of the Act. Constitutional standing requires that at
least one plaintiff demonstrate they have suffered a concrete and particularized
injury that is fairly traceable to the challenged action and is likely to be redressed by
a court ruling in the plaintiff’s favor. See Lujan v. Defenders of Wildlife, 504 U.S.
555, 560–61 (1992). Arkansas argues that because no Minor Plaintiff has declared
an intent to undergo gender-reassignment surgery as a minor, no Plaintiff has
established standing to challenge the ban as to that type of gender transition
procedure. The State also argues that Plaintiffs lack standing to challenge the section
of the statute that provides for private enforcement because no defendant is involved
in enforcement of the Act by private right of action. But Arkansas does not contest
that Plaintiffs have met their burden under Lujan to challenge other parts of the Act,
and this court declines the State’s invitation to modify well-established
constitutional standing principles to require that a plaintiff demonstrate an injury




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traceable to every possible application of the challenged statute in order to satisfy
the constitutional standing requirement.3

                             III. Preliminary Injunction

                                   A. Legal Standard

       “In reviewing the issuance of a preliminary injunction, we consider the threat
of irreparable harm to the movant, the likelihood that the movant will succeed on the
merits, the balance between the harm to the movant and injury that an injunction
would inflict on other parties, and the public interest.” Brakebill v. Jaeger, 932 F.3d
671, 676 (8th Cir. 2019) (citing Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109,
113 (8th Cir. 1981) (en banc)). A party challenging a state statute must show that
she is likely to prevail on the merits. See Planned Parenthood Minn., N.D., S.D. v.
Rounds, 530 F.3d 724, 730 (8th Cir. 2008). “The plaintiff[s] need only establish a
likelihood of succeeding on the merits of any one of [their] claims.”
Richland/Wilkin Joint Powers Auth. v. U.S. Army Corps of Eng’rs, 826 F.3d 1030,
1040 (8th Cir. 2016) (quotation omitted).

       We review the decision to grant a preliminary injunction for abuse of
discretion. See Rodgers v. Bryant, 942 F.3d 451, 456 (8th Cir. 2019). “An abuse of
discretion occurs where the district court rests its conclusion on clearly erroneous
factual findings or erroneous legal conclusions.” Rounds, 530 F.3d at 733 (quotation
omitted). “If a factual finding is supported by substantial evidence on the record, it
is not clearly erroneous.” Dixon v. Crete Med. Clinic, P.C., 498 F.3d 837, 847 (8th
Cir. 2007). “Clear error exists when despite evidence supporting the finding, the
evidence as a whole leaves us with a definite and firm conviction that the finding is
a mistake.” Richland/Wilkin, 826 F.3d at 1036 (quotation omitted).

      3
       The State also argues that Physician Plaintiffs lack third-party standing to sue
on behalf of their minor patients. But since there is at least one plaintiff with
standing to bring each of Plaintiffs’ claims, we need not address this argument at this
juncture.

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                        B. Likelihood of Success on the Merits

       To evaluate Plaintiffs’ likelihood of success on the merits of their equal
protection claim, we must first determine the appropriate level of scrutiny. Cf.
Libertarian Party of Ark. v. Thurston, 962 F.3d 390, 399 (8th Cir. 2020)
(determining as a threshold matter what level of scrutiny applied to the challenged
statute governing ballot access). Act 626 prohibits “gender transition procedures,”
which are defined as procedures or medications that are intended to change “the
individual’s biological sex.” Ark. Code Ann. § 20-9-1501(6)(A). The statute
defines “biological sex” as the person’s sex “at birth, without regard to an
individual’s psychological, chosen, or subjective experience of gender.” Id. § 20-9-
1501(1). Thus, under the Act, medical procedures that are permitted for a minor of
one sex are prohibited for a minor of another sex. A minor born as a male may be
prescribed testosterone or have breast tissue surgically removed, for example, but a
minor born as a female is not permitted to seek the same medical treatment. Because
the minor’s sex at birth determines whether or not the minor can receive certain types
of medical care under the law, Act 626 discriminates on the basis of sex.

       Arkansas’s characterization of the Act as creating a distinction on the basis of
medical procedure rather than sex is unpersuasive. Arkansas argues that
administering testosterone to a male should be considered a different procedure than
administering it to a female because the “procedure allows a boy to develop
normally” whereas for a girl it has the effect of “disrupting normal development.”
But this conflates the classifications drawn by the law with the state’s justification
for it. The biological sex of the minor patient is the basis on which the law
distinguishes between those who may receive certain types of medical care and those
who may not. The Act is therefore subject to heightened scrutiny. See Heckler v.
Mathews, 465 U.S. 728, 744 (1984). Cf. Whitaker ex rel. Whitaker v. Kenosha
Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir. 2017) (holding
that where “the School District’s policy cannot be stated without referencing sex, as
the School District decides which bathroom a student may use based upon the sex
listed on the student’s birth certificate,” the policy “is inherently based upon a sex-


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classification and heightened review applies”) (abrogation on other grounds
recognized by Ill. Republican Party v. Pritzker, 973 F.3d 760 (7th Cir. 2020)).4

       Statutes that discriminate based on sex must be supported by an “exceedingly
persuasive justification.” United States v. Virginia, 518 U.S. 515, 531 (1996). The
government meets this burden if it can show that the statute is substantially related
to a sufficiently important government interest. Id. at 533. Arkansas relies on its
interest in protecting children from experimental medical treatment and regulating
ethics in the medical profession to justify Act 626.

       The district court found that the Act prohibits medical treatment that conforms
with “the recognized standard of care for adolescent gender dysphoria,” that such
treatment “is supported by medical evidence that has been subject to rigorous study,”
and that the purpose of the Act is “not to ban a treatment [but] to ban an outcome
that the State deems undesirable.” The record at this stage provides substantial
evidence to support these factual findings.

        Arkansas complains the district court failed to consider the medical evidence
it submitted. Both parties provided scientific literature and declarations from
medical experts and discussed the expert opinions in their briefs and at the motion
hearing. The district court acknowledged at the hearing that “experts [on both] sides
of this case don’t agree, and I get that. That’s part of the deal.” We find no clear
error in the district court’s weighing of the competing evidence. See Med. Shoppe
Int’l, Inc. v. S.B.S. Pill Dr., Inc., 336 F.3d 801, 803 (8th Cir. 2003) (“Our deferential
review [of preliminary injunctions] arises from the district court’s institutional
advantages in evaluating witness credibility and weighing evidence.”).



      4
       The district court also concluded that heightened scrutiny was appropriate
because the Act facially discriminates against transgender people, who constitute a
quasi-suspect class. We discern no clear error in the district court’s factual findings
underlying this legal conclusion, but we need not rely on it to apply heightened
scrutiny because the Act also discriminates on the basis of sex.

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        Furthermore, substantial evidence in the record supports the district court’s
factual findings, despite the contrary assertions of the State’s experts. For example,
while Arkansas’s experts criticize the structure and scale of research on hormone
therapies for adolescents with gender dysphoria, study design is only one factor
among many that medical professionals properly consider when they review
research and determine what course of action to recommend to a patient. And there
is evidence in the record that these hormone treatments have been evaluated in the
same manner as many other medical innovations. According to surveys of the
research on hormone treatment for adolescents done by the British National Institute
for Health & Care Excellence, several studies have shown statistically significant
positive effects of hormone treatment on the mental health, suicidality, and quality
of life of adolescents with gender dysphoria. None has shown negative effects.

       Additionally, there is substantial evidence to support the district court’s
conclusion that the Act prohibits medical treatment that conforms with the
recognized standard of care. Even international bodies that consider hormone
treatment for adolescents to be “experimental” have not banned the care covered by
Act 626. For example, Arkansas submitted to the district court a report from the
Council for Choices in Health Care in Finland in which the council concluded that
“[i]n light of available evidence, gender reassignment of minors is an experimental
practice,” but the report still recommends that gender-affirming care be available to
minors under appropriate circumstances.           In fact, the Finnish council’s
recommendations for treatment closely mirror the standards of care laid out by the
World Professional Association for Transgender Health (WPATH) and the
Endocrine Society, two organizations the State repeatedly criticizes. Like WPATH,
the Finnish council concluded that puberty-suppressing hormones might be
appropriate for adolescents at the onset of puberty who have exhibited persistent
gender nonconformity and who are already addressing any coexisting psychological
issues. Similarly, the WPATH Standards of Care and the Finnish council both
recommend that cross-sex hormones be considered only where the adolescent is




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experiencing persistent gender dysphoria, other mental health conditions are well-
managed, and the minor is able to meet the standards to consent to the treatment.5

       In sum, having reviewed the evidence as a whole, we are not left with the
“definite and firm conviction” that the district court’s factual findings are clearly
erroneous. Rather, substantial evidence in the record supports its factual findings.
In light of those findings, the district court did not err in concluding Act 626 is not
substantially related to Arkansas’s interests in protecting children from experimental
medical treatment and regulating medical ethics, and Plaintiffs have demonstrated a
likelihood of success on the merits of their equal protection claim.

                             C. Balance of the Equities

       In considering the risk of irreparable harm to the Plaintiffs, the district court
found that if Act 626 went into effect, Minor Plaintiffs would be denied access to
hormone treatment (including needing to stop treatment already underway), undergo
endogenous puberty—a process that cannot be reversed—and suffer heightened
gender dysphoria. These factual findings are supported by Minor Plaintiffs’
affidavits and are not clearly erroneous. The findings support the conclusion that
Plaintiffs will suffer irreparable harm absent a preliminary injunction.

      Additionally, it is “always in the public interest to prevent the violation of a
party’s constitutional rights.” Bao Xiong ex rel. D.M. v. Minn. State High Sch.
League, 917 F.3d 994, 1004 (8th Cir. 2019) (quoting Awad v. Ziriax, 670 F.3d 1111,

      5
       The State also emphasized the judicial decision in Bell v. Tavistock &
Portman NHS Foundation Trust, 2020 EWHC (Admin) 3274, in the United
Kingdom, in which the court decided that minors under 16 years old could not
consent to receive hormone therapies and required court approval because it is “a
very unusual treatment” with “limited evidence as to its efficacy.” Id. at ¶ 134. That
judgment has since been reversed, however, with the court of appeals concluding
that “[n]othing about the nature or implications of the treatment with puberty
blockers allows for a real distinction to be made” from other medical treatment an
adolescent might seek. 2021 EWCA (Civ) 1363, at ¶ 76.

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1132 (10th Cir. 2012)). These interests, weighed against the potential harm to
Arkansas of not enforcing Act 626 between now and a final ruling on the merits of
the litigation, convince us that the district court did not abuse its discretion in
granting Plaintiffs’ motion for preliminary injunction.

                              D. Scope of the Injunction

       Arkansas’s final argument is that the district court abused its discretion by
granting a facial injunction. It is true, as the State points out, that some minors
experiencing gender dysphoria may choose not to pursue the gender transition
procedures covered by the Act and therefore would not be harmed by its
enforcement. A party bringing a facial challenge must “establish that no set of
circumstances exists under which the Act would be valid,” United States v. Salerno,
481 U.S. 739, 745 (1987), but the State describes minors for whom the Act simply
would have no application, see City of Los Angeles v. Patel, 576 U.S. 409, 418–19
(2015) (“The proper focus of the [facial] constitutional inquiry is the group for whom
the law is a restriction, not the group for whom the law is irrelevant.” (quotation
omitted)). Moreover, Arkansas has failed to offer a more narrowly tailored
injunction that would remedy Plaintiffs’ injuries. The district court did not abuse its
discretion by granting a facial injunction.

                                 IV. Conclusion

       Because we conclude the district court did not abuse its discretion in granting
a preliminary injunction based on Plaintiffs’ equal protection claim, we need not
address the State’s challenges to Plaintiffs’ other claims. The decision of the district
court is affirmed.
                        ______________________________




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